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                            UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303

   David J. Smith                                                                     For rules and forms visit
   Clerk of Court                                                                     www.ca11.uscourts.gov


                                          December 08, 2022                                    AP
   Clerk - Southern District of Florida
   U.S. District Court                                                           Dec 8, 2022
   400 N MIAMI AVE
   MIAMI, FL 33128-1810
                                                                                                    MIAMI

   Appeal Number: 22-13005-DD
   Case Style: Donald Trump v. USA
   District Court Docket No: 9:22-cv-81294-AMC

   A copy of this letter, and the judgment form if noted above, but not a copy of the court's
   decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
   was previously forwarded to counsel and pro se parties on the date it was issued.

   The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
   was previously provided on the date of issuance.

   Sincerely,

   DAVID J. SMITH, Clerk of Court

   Reply to: Lois Tunstall
   Phone #: (404) 335-6191

   Enclosure(s)
                                                                       MDT-1 Letter Issuing Mandate
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                                             In the
                        United States Court of Appeals
                                   For the Eleventh Circuit
                                    ____________________

                                          No. 22-13005
                                    ____________________

              DONALD J. TRUMP,
                                                               Plaintiff-Appellee,
              versus
              UNITED STATES OF AMERICA,


                                                            Defendant-Appellant.


                                    ____________________

                           Appeal from the United States District Court
                               for the Southern District of Florida
                              D.C. Docket No. 9:22-cv-81294-AMC
                                    ____________________

                                          JUDGMENT




   ISSUED AS MANDATE: 12/08/2022
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              It is hereby ordered, adjudged, and decreed that the opinion is-
              sued on this date in this appeal is entered as the judgment of this
              Court.
                                    Entered: December 1, 2022
                           For the Court: DAVID J. SMITH, Clerk of Court




   ISSUED AS MANDATE: 12/08/2022
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                                                               [PUBLISH]
                                        In the
                     United States Court of Appeals
                             For the Eleventh Circuit

                               ____________________

                                     No. 22-13005
                               ____________________

            DONALD J. TRUMP,
                                                          Plaintiff-Appellee,
            versus
            UNITED STATES OF AMERICA,


                                                       Defendant-Appellant.


                               ____________________

                      Appeal from the United States District Court
                          for the Southern District of Florida
                         D.C. Docket No. 9:22-cv-81294-AMC
                               ____________________
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            Before WILLIAM PRYOR, Chief Judge, GRANT, and BRASHER, Circuit
            Judges.
            PER CURIAM:
                   This appeal requires us to consider whether the district
            court had jurisdiction to block the United States from using
            lawfully seized records in a criminal investigation. The answer is
            no.
                   Former President Donald J. Trump brought a civil action
            seeking an injunction against the government after it executed a
            search warrant at his Mar-a-Lago residence. He argues that a court-
            mandated special master review process is necessary because the
            government’s Privilege Review Team protocols were inadequate,
            because various seized documents are protected by executive or
            attorney-client privilege, because he could have declassified
            documents or designated them as personal rather than presidential
            records, and—if all that fails—because the government’s appeal
            was procedurally deficient. The government disagrees with each
            contention.
                   These disputes ignore one fundamental question—whether
            the district court had the power to hear the case. After all: “Federal
            courts are courts of limited jurisdiction. They possess only that
            power authorized by Constitution and statute, which is not to be
            expanded by judicial decree.” Kokkonen v. Guardian Life Ins. Co.
            of Am., 511 U.S. 375, 377 (1994) (citation omitted).
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                   This case was such an expansion. Exercises of equitable
            jurisdiction—which the district court invoked here—should be
            “exceptional” and “anomalous.” Hunsucker v. Phinney, 497 F.2d
            29, 32 (5th Cir. 1974). 1 Our precedents have limited this
            jurisdiction with a four-factor test. Richey v. Smith, 515 F.2d 1239,
            1243–44 (5th Cir. 1975). Plaintiff’s jurisdictional arguments fail all
            four factors.
                   In considering these arguments, we are faced with a choice:
            apply our usual test; drastically expand the availability of equitable
            jurisdiction for every subject of a search warrant; or carve out an
            unprecedented exception in our law for former presidents. We
            choose the first option. So the case must be dismissed.
                                                  I.
                    As Plaintiff’s presidential term drew to a close in January
            2021, movers transferred documents from the White House to his
            personal residence, a South Florida resort and club known as Mar-
            a-Lago. Over the course of that year and into the next, and
            consistent with its responsibilities under the Presidential Records
            Act, 44 U.S.C. §§ 2201–2209, the National Archives and Records
            Administration sought to obtain missing presidential records that
            its officials believed were in Plaintiff’s possession.



            1 See Bonner v. City of Prichard, 661 F.2d 1206 (11th Cir. 1981) (en banc)
            (adopting as binding precedent all published cases of the former Fifth Circuit
            decided prior to the close of business on September 30, 1981).
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                   The government first sought the voluntary return of the
            records. In January 2022, after months of discussions, Plaintiff
            transferred fifteen boxes of documents to the National Archives.
            Inside were “newspapers, magazines, printed news articles, photos,
            miscellaneous print-outs, notes, presidential correspondence,
            personal and post-presidential records, and a lot of classified
            records.” Affidavit in Support of an Application Under Rule 41 for
            a Warrant to Search and Seize ¶ 24, In re Sealed Search Warrant,
            No. 22-mj-08332 (S.D. Fla. Sept. 9, 2022) (“Warrant Affidavit”)
            (quotation omitted).
                   The Department of Justice was alerted about the classified
            materials in February 2022. Id. It then sought access to the fifteen
            boxes so that the “FBI and others in the Intelligence Community”
            could examine them to assess “important national security
            interests,” including “the potential damage resulting from the
            apparent manner in which these materials were stored.” The
            National Archives later advised Plaintiff that it planned to provide
            the FBI access to the records in roughly one week. When he
            requested a delay of up to eleven days, the National Archives
            agreed.
                   When the new deadline arrived in April 2022, Plaintiff
            requested yet another extension. He also informed the National
            Archives that if it declined to grant it, he would make a “protective
            assertion of executive privilege” over the documents. The
            National Archives rejected that assertion as unviable—saying the
            “question in this case is not a close one”—and informed Plaintiff’s
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            representatives that it would give the FBI access to the records.
            Plaintiff did not follow through with any effort to block the FBI’s
            review of the documents. So the FBI reviewed the records in mid-
            May, more than three months after it first learned that classified
            documents had been stored at Mar-a-Lago. It found 184
            documents marked at varying levels of classification, including
            twenty-five marked top secret. Warrant Affidavit ¶ 47.
                   In the meantime, the FBI had developed evidence that even
            more classified information likely remained at Plaintiff’s residence.
            The Department of Justice obtained a grand-jury subpoena for all
            documents or writings bearing classification markings that were in
            Plaintiff’s custody or control, and Plaintiff’s counsel was served
            with the subpoena in early May.
                    Plaintiff did not assert claims of privilege or declassification
            in response to the subpoena. But he did seek more time to produce
            the requested documents, and the government eventually
            extended the compliance deadline to June 7, 2022. A few days
            before the deadline was set to expire, Plaintiff’s representatives
            produced an envelope wrapped in tape, which was consistent with
            an effort to comply with handling procedures for classified
            documents. Warrant Affidavit ¶¶ 58, 60. It contained thirty-eight
            classified documents, seventeen of which were marked top secret.
            Id. A declaration accompanying the documents certified that a
            “diligent search was conducted” of the boxes moved from the
            White House and that “[a]ny and all responsive documents” had
            now been produced.
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                    Even so, the FBI developed more evidence that other
            classified documents remained at Mar-a-Lago. In August 2022—
            over one-and-a-half years after the end of Plaintiff’s presidential
            administration, six months after the first transfer of boxes to the
            National Archives, and three months after the subpoena was
            served—the Department of Justice sought a search warrant. It
            presented an FBI agent’s sworn affidavit to a Florida magistrate
            judge, who agreed that probable cause existed to believe that
            evidence of criminal violations would likely be found at Mar-a-
            Lago. Warrant Affidavit at 1, 32; Notice of Filing of Redacted
            Documents at 2, In re Sealed Search Warrant, No. 22-mj-08332
            (S.D. Fla. Aug. 11, 2022) (“Search Warrant”). The magistrate judge
            issued a search warrant for the offices, storage rooms, and potential
            storage sites at Plaintiff’s residence, and authorized the seizure of:
                  All physical documents and records constituting
                  evidence, contraband, fruits of crime, or other items
                  illegally possessed in violation of 18 U.S.C. §§ 793,
                  2071, or 1519, including the following:
                  a. Any physical documents with classification
                  markings, along with any containers/boxes
                  (including any other contents) in which such
                  documents are located, as well as any other
                  containers/boxes that are collectively stored or found
                  together with the aforementioned documents and
                  containers/boxes;
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                  b. Information, including communications in any
                  form, regarding the retrieval, storage, or transmission
                  of national defense information or classified material;
                  c. Any government and/or Presidential Records
                  created between January 20, 2017, and January 20,
                  2021; or
                  d. Any evidence of the knowing alteration,
                  destruction, or concealment of any government
                  and/or Presidential Records, or of any documents
                  with classification markings.
            Search Warrant at 4. The warrant affidavit described a set of
            protocols proposed by the government to create a “Privilege
            Review Team.” Warrant Affidavit ¶ 81. The team was made up
            of agents who were not otherwise participating in the
            investigation; they were tasked with reviewing certain seized
            documents to protect Plaintiff’s attorney-client privilege. See id.
            ¶¶ 81–84.
                    The FBI executed the search warrant on August 8. Agents
            seized approximately 13,000 documents and a number of other
            items, totaling more than 22,000 pages of material. Despite the
            certification from Plaintiff that “[a]ny and all” documents bearing
            classification markings had been produced, fifteen of the thirty-
            three seized boxes, containers, or groups of papers contained
            documents with classification markings, including three such
            documents found in desks in Plaintiff’s office. All told, the search
            uncovered over one hundred documents marked confidential,
            secret, or top secret.
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                   Plaintiff requested a copy of the warrant affidavit, an
            opportunity to inspect the seized property, a detailed list of what
            was taken from the residence and where it was found, and consent
            to the appointment of a special master “to protect the integrity of
            privileged documents.” The government denied those requests
            shortly after the search.
                     A few weeks later, Plaintiff filed a new action in the United
            States District Court for the Southern District of Florida, which he
            styled as a “Motion For Judicial Oversight And Additional Relief.”
            The motion asked the court to (1) appoint a special master;
            (2) enjoin review of the seized materials until a special master was
            appointed; (3) require the United States to supply a more detailed
            list of the items seized; and (4) order the United States to return any
            item seized that was not within the scope of the search warrant.
            The motion was a civil filing and did not explain how the district
            court had jurisdiction to act on all of its requests. It did, however,
            claim to be a precursor to an eventual motion under Federal Rule
            of Criminal Procedure 41(g). That rule permits a “person
            aggrieved by an unlawful search and seizure of property or by the
            deprivation of property” to “move for the property’s return.” Fed.
            R. Crim. P. 41(g).
                   The district court could not identify a sufficient
            jurisdictional basis for the filing, so it requested a jurisdictional
            brief. Days later, Plaintiff responded that the district court had
            “equitable and ancillary jurisdiction,” as well as “anomalous
            jurisdiction,” to enjoin the government and appoint a special
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            master. He also suggested that Federal Rule of Civil Procedure 53
            may create an independent cause of action to appoint a special
            master, but cited no authority for that theory. As for the requested
            injunction against the United States, Plaintiff noted that the “law’s
            ambiguity” meant that “principles of fairness” supported exercising
            jurisdiction over the entire motion.
                   The next day—August 27—the district court issued an order
            declaring “its preliminary intent to appoint a special master” and
            requiring the government to provide Plaintiff with a more detailed
            list of seized items. The court stated that it had jurisdiction
            pursuant to the court’s “inherent authority” and Federal Rule of
            Civil Procedure 53(b)(1), which reads: “Before appointing a master,
            the court must give the parties notice and an opportunity to be
            heard. Any party may suggest candidates for appointment.”
                   After a response from the government that included a
            description of its privilege filter process, the district court issued a
            September 5 order directing the appointment of a special master
            under soon-to-be developed procedures, and barring the
            government from using any of the seized documents “pending
            resolution of the special master’s review process.” The order was
            issued “[p]ursuant to the Court’s equitable jurisdiction and
            inherent supervisory authority.”
                    Three days later, the government filed a notice of appeal. It
            also filed a motion for a partial stay of the injunction so that it could
            continue using the seized documents bearing classification
            markings in its criminal investigation. The district court rejected
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            the partial stay on September 15. It also issued an order naming
            the special master and setting out his specific duties.
                    The government sought a partial stay from this Court the
            next day. We granted the stay, concluding that the district court
            likely had no equitable jurisdiction to issue an order relating to the
            classified documents. Trump v. United States, No. 22-13005, 2022
            WL 4366684, at *1, *7 (11th Cir. Sept. 21, 2022). Plaintiff applied
            for relief in the Supreme Court, but that request was denied.
            Trump v. United States, No. 22A283, 2022 WL 7255980, at *1 (U.S.
            Oct. 13, 2022).
                   On October 5, this Court approved the government’s
            request for expedited briefing in its appeal of the September 5 order
            blocking review of the seized documents and directing the
            appointment of a special master. Now, with the benefit of oral
            argument, we conclude that the district court lacked jurisdiction to
            consider Plaintiff’s initial motion or to issue any orders in response
            to it.
                                             II.
                  Because federal courts lack general jurisdiction, it “is to be
            presumed that a cause lies outside” of our “limited jurisdiction.”
            Kokkonen, 511 U.S. at 377. The “burden of establishing the
            contrary rests upon the party asserting jurisdiction.” Id. We
            review an exercise of equitable jurisdiction for abuse of discretion.
            See Richey, 515 F.2d at 1243. And review of a preliminary
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            injunction includes the power to dismiss the entire action based on
            jurisdiction or the merits. Munaf v. Geren, 553 U.S. 674, 691 (2008).
                                            III.
                   Only the narrowest of circumstances permit a district court
            to invoke equitable jurisdiction. Such decisions “must be exercised
            with caution and restraint,” as equitable jurisdiction is appropriate
            only in “exceptional cases where equity demands intervention.” In
            re $67,470, 901 F.2d 1540, 1544 (11th Cir. 1990); see also
            Hunsucker, 497 F.2d at 32. This is not one of them.
                   “It is a familiar rule that courts of equity do not ordinarily
            restrain criminal prosecutions.” Douglas v. City of Jeannette, 319
            U.S. 157, 163 (1943). To avoid unnecessary interference with the
            executive branch’s criminal enforcement authority—while also
            offering relief in rare instances where a gross constitutional
            violation would otherwise leave the subject of a search without
            recourse—this Circuit has developed an exacting test for exercising
            equitable jurisdiction over suits flowing from the seizure of
            property. Richey v. Smith instructs courts to consider four factors:
            (1) whether the government displayed a “callous disregard” for the
            plaintiff’s constitutional rights; (2) “whether the plaintiff has an
            individual interest in and need for the material whose return he
            seeks”; (3) “whether the plaintiff would be irreparably injured by
            denial of the return of the property”; and (4) “whether the plaintiff
            has an adequate remedy at law for the redress of his grievance.”
            515 F.2d at 1243–44 (quotation omitted).
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                  Plaintiff’s jurisdictional brief in the district court dispatched
            with all four of these inquiries in a single paragraph. But Richey’s
            inquiry is not as simple as that filing made it out to be.
                   When we examine Plaintiff’s arguments about the Richey
            factors, we notice a recurring theme. He makes arguments that—
            if consistently applied—would allow any subject of a search
            warrant to invoke a federal court’s equitable jurisdiction. That
            understanding of Richey would make equitable jurisdiction not
            extraordinary, “but instead quite ordinary.” United States v. Search
            of Law Office, Residence, and Storage Unit Alan Brown, 341 F.3d
            404, 415 (5th Cir. 2003) (quotation omitted). Our precedents
            consistently reject this approach. We have emphasized again and
            again that equitable jurisdiction exists only in response to the most
            callous disregard of constitutional rights, and even then only if
            other factors make it clear that judicial oversight is absolutely
            necessary.
                                              A.
                   We begin with whether Plaintiff has shown a “callous
            disregard” for his constitutional rights. Whether that sort of
            violation has occurred is the “foremost consideration” for a court
            when deciding whether it may exercise its equitable jurisdiction in
            this context. United States v. Chapman, 559 F.2d 402, 406 (5th Cir.
            1977). When considering this factor, our precedent emphasizes the
            “indispensability of an ‘accurate allegation’ of ‘callous disregard.’”
            Id. (quoting Richey, 515 F.2d at 1243) (alteration adopted); see also
            Hunsucker, 497 F.2d at 34 n.10 (collecting cases). Absent that,
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            courts will not intervene in an ongoing investigation—and rightly
            so. Because the vast majority of subjects of a search warrant have
            not experienced a “callous disregard” of their constitutional rights,
            this factor ensures that equitable jurisdiction remains
            extraordinary. Otherwise, “a flood of disruptive civil litigation”
            would surely follow. Deaver v. Seymour, 822 F.2d 66, 71 (D.C. Cir.
            1987). This restraint guards against needless judicial intrusion into
            the course of criminal investigations—a sphere of power
            committed to the executive branch.
                   The callous disregard standard has not been met here, and
            no one argues otherwise. The district court’s entire reasoning
            about this factor was that it “agrees with the Government that, at
            least based on the record to date, there has not been a compelling
            showing of callous disregard for Plaintiff’s constitutional rights.”
            None of Plaintiff’s filings here or in the district court contest this
            finding.
                   Instead, he says callous disregard of his constitutional rights
            is not indispensable to Richey’s test. That is an incorrect reading
            of our precedent, as well as inconsistent with the longstanding
            principles outlined above. Chapman, 559 F.2d at 406. And the fact
            that Richey considers three other factors in its test does not suggest
            otherwise. To the contrary, these factors underscore how rare this
            exercise of jurisdiction should be—even a callous disregard of
            constitutional rights is not enough, on its own, to allow for the type
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            of relief that Plaintiff seeks. 2 As we did in Chapman, we will
            consider the remaining factors for the sake of completeness.
                                                   B.
                   The second Richey factor is “whether the plaintiff has an
            individual interest in and need for the material whose return he
            seeks.” 515 F.2d at 1243.           Plaintiff’s jurisdictional brief
            mischaracterized this standard, referring to “the parties’ need for
            the seized material” (emphasis added). He is wrong to suggest that
            jurisdiction somehow depends on the balance of interests between
            the parties—the relevant inquiry is if he needs the documents.
                    Plaintiff has made no such showing. His jurisdictional brief
            in the district court asserted that the government had improperly
            seized his passports and that its continued custody of “similar
            materials” was “both unnecessary and likely to cause significant
            harm.” But the passports had already been returned before he filed
            his first motion, and his jurisdictional brief did not explain what
            “similar materials” were at issue or why he needed them.
                   The district court was undeterred by this lack of
            information. It said that “based on the volume and nature of the
            seized material, the Court is satisfied that Plaintiff has an interest in
            and need for at least a portion of it,” though it cited only the

            2 Plaintiff’s lawyers claimed at oral argument that the special master process is
            necessary to determine whether a constitutional violation happened. This jus-
            tification finds no support in our precedent and would result in a dramatic and
            unwarranted expansion of equitable jurisdiction.
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            government’s filings and not Plaintiff’s. But that is not enough.
            Courts that have authorized equitable jurisdiction have
            emphasized the importance of identifying “specific” documents
            and explaining the harm from their “seizure and retention.” See,
            e.g., Harbor Healthcare Sys., L.P. v. United States, 5 F.4th 593, 600
            (5th Cir. 2021) (Harbor did “far more than assert vague allegations”
            by pointing to “thousands” of privileged documents that the
            government retained for four years). Neither the district court nor
            Plaintiff has offered such specifics.
                   Indeed, Plaintiff does not press the district court’s theory on
            appeal. Instead, he argues that the Presidential Records Act gives
            him a possessory interest in the seized documents. This argument
            is unresponsive. Even if Plaintiff’s statutory interpretation were
            correct (a proposition that we neither consider nor endorse),
            personal interest in or ownership of a seized document is not
            synonymous with the need for its return.3 In most search warrants,
            the government seizes property that unambiguously belongs to the
            subject of a search. That cannot be enough to support equitable
            jurisdiction.



            3 During discussion of this factor at oral argument, Plaintiff’s counsel noted
            that the seized items included “golf shirts” and “pictures of Celine Dion.” The
            government concedes that Plaintiff “may have a property interest in his per-
            sonal effects.” While Plaintiff may have an interest in these items and others
            like them, we do not see the need for their immediate return after seizure un-
            der a presumptively lawful search warrant.
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                   Having failed to show his own need, Plaintiff attempts—as
            he did in the district court—to reverse the standard, arguing that
            the government does not need the non-classified documents for its
            investigation. This is not self-evident, but it would be irrelevant in
            any event. Plaintiff’s task was to show why he needed the
            documents, not why the government did not. He has failed to
            meet his burden under this factor.
                                              C.
                   Richey next asks “whether the plaintiff would be irreparably
            injured by denial of the return of the property.” 515 F.2d at 1243.
            In his jurisdictional brief, Plaintiff suggested only that the
            government’s “continued custody” of documents “similar” to his
            passport was “likely to cause significant harm.” And again, the
            district court stepped in with its own reasoning. It identified
            potential irreparable harm that could arise based on (1) improper
            disclosure of “sensitive information” to the public; (2) the United
            States’s retention and potential use of privileged materials; and
            (3) the stigma associated with the threat of future prosecution.
                    Plaintiff has adopted two of the district court’s arguments,
            dedicating a single page of his brief to discussing the first and third
            theories of harm. On the first argument, Plaintiff echoes the
            district court and asserts that he faces an “unquantifiable potential
            harm by way of improper disclosure of sensitive information to the
            public.” It is not clear whether Plaintiff and the district court mean
            classified information or information that is sensitive to Plaintiff
            personally. If the former, permitting the United States to review
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            classified documents does not suggest that they will be released.
            Any official who makes an improper disclosure of classified
            material risks her own criminal liability. See, e.g., 18 U.S.C. § 798.
            What’s more, any leak of classified material would be properly
            characterized as a harm to the United States and its citizens—not
            as a personal injury to Plaintiff.
                   As for records that may otherwise be “sensitive,” it cannot
            be that prosecutors reading unprivileged documents seized
            pursuant to a lawful warrant constitutes an irreparable injury for
            purposes of asserting equitable jurisdiction. Here too, Plaintiff’s
            argument would apply to nearly every subject of a search warrant.
            The district court’s unsupported conclusion that government
            possession of seized evidence creates an “unquantifiable” risk of
            public disclosure is not enough to show that Plaintiff faces
            irreparable harm.
                   Similar reasoning guides our approach to the other potential
            injury identified by Plaintiff: the threat and stigma of future
            criminal prosecution. No doubt the threat of prosecution can
            weigh heavily on the mind of anyone under investigation. See
            Richey, 515 F.2d at 1243 n.10; see also Deaver, 822 F.2d at 70. But
            without diminishing the seriousness of the burden, that ordinary
            experience cannot support extraordinary jurisdiction. Alan Brown,
            341 F.3d at 415; see also Cobbledick v. United States, 309 U.S. 323,
            325 (1940). The third Richey factor also weighs against exercising
            equitable jurisdiction.
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                                              D.
                    Finally, Richey asks “whether the plaintiff has an adequate
            remedy at law for the redress of his grievance.” 515 F.2d at 1243–
            44. In deciding this factor for Plaintiff, the district court’s answer
            was that he “would have no legal means of seeking the return of
            his property for the time being and no knowledge of when other
            relief might become available.” This is not a sufficient justification.
            To start, Plaintiff invokes Rule 41(g) in his brief on appeal, but only
            to say that it has been applied in other cases. The only argument
            that he has plausibly made relating to that rule is for the return of
            documents “not within the scope of the Search Warrant.” There
            is no record evidence that the government exceeded the scope of
            the warrant—which, it bears repeating, was authorized by a
            magistrate judge’s finding of probable cause. And yet again,
            Plaintiff’s argument would apply universally; presumably any
            subject of a search warrant would like all of his property back
            before the government has a chance to use it.
                   Plaintiff’s alternative framing of his grievance is that he
            needs a special master and an injunction to protect documents that
            he designated as personal under the Presidential Records Act. But
            as we have said, the status of a document as personal or presidential
            does not alter the authority of the government to seize it under a
            warrant supported by probable cause; search warrants authorize
            the seizure of personal records as a matter of course. The
            Department of Justice has the documents because they were seized
            with a search warrant, not because of their status under the
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            Presidential Records Act. So Plaintiff’s suggestion that “whether
            the Government is entitled to retain some or all the seized
            documents has not been determined by any court” is incorrect.
            The magistrate judge decided that issue when approving the
            warrant. To the extent that the categorization of these documents
            has legal relevance in future proceedings, the issue can be raised at
            that time.
                    All these arguments are a sideshow. The real question that
            guides our analysis is this—adequate remedy for what? The
            answer is the same as it was in Chapman: “No weight can be
            assigned to this factor because [Plaintiff] did not assert that any
            rights had been violated, i.e., that there has been a callous disregard
            for his constitutional rights or that a substantial interest in property
            is jeopardized.” 559 F.2d at 407. If there has been no constitutional
            violation—much less a serious one—then there is no harm to be
            remediated in the first place. This factor also weighs against
            exercising equitable jurisdiction.
                                              IV.
                   None of the Richey factors favor exercising equitable
            jurisdiction over this case. Plaintiff, however, asks us to refashion
            our analysis in a way that, if consistently applied, would make
            equitable jurisdiction available for every subject of every search
            warrant. He asks us to ignore our precedents finding that a callous
            disregard for constitutional rights is indispensable. He asks us to
            conclude that a property interest in a seized item is a sufficient
            “need” for its immediate return. He asks us to treat any stigma
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            arising from the government’s access to sensitive personal
            information or the threat of potential prosecution as irreparable
            injuries. And he asks us to find that he has no other remedy apart
            from equitable jurisdiction, even though he faces no remediable
            harm. Anyone could make these arguments. And accepting them
            would upend Richey, requiring federal courts to oversee routine
            criminal investigations beyond their constitutionally ascribed role
            of approving a search warrant based on a showing of probable
            cause. Our precedents do not allow this, and neither does our
            constitutional structure.
                   Only one possible justification for equitable jurisdiction
            remains: that Plaintiff is a former President of the United States. It
            is indeed extraordinary for a warrant to be executed at the home of
            a former president—but not in a way that affects our legal analysis
            or otherwise gives the judiciary license to interfere in an ongoing
            investigation. The Richey test has been in place for nearly fifty
            years; its limits apply no matter who the government is
            investigating. To create a special exception here would defy our
            Nation’s foundational principle that our law applies “to all, without
            regard to numbers, wealth, or rank.” State of Georgia v. Brailsford,
            3 U.S. (3 Dall.) 1, 4 (1794).
                                       *      *      *
                   The law is clear. We cannot write a rule that allows any
            subject of a search warrant to block government investigations
            after the execution of the warrant. Nor can we write a rule that
            allows only former presidents to do so. Either approach would be
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            a radical reordering of our caselaw limiting the federal courts’
            involvement in criminal investigations. And both would violate
            bedrock separation-of-powers limitations. Accordingly, we agree
            with the government that the district court improperly exercised
            equitable jurisdiction, and that dismissal of the entire proceeding is
            required.
                   The district court improperly exercised equitable
            jurisdiction in this case. For that reason, we VACATE the
            September 5 order on appeal and REMAND with instructions for
            the district court to DISMISS the underlying civil action.
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                              UNITED STATES COURT OF APPEALS
                                 FOR THE ELEVENTH CIRCUIT
                                 ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                               56 Forsyth Street, N.W.
                                               Atlanta, Georgia 30303

   David J. Smith                                                                       For rules and forms visit
   Clerk of Court                                                                       www.ca11.uscourts.gov


                                           December 01, 2022

    MEMORANDUM TO COUNSEL OR PARTIES

    Appeal Number: 22-13005-DD
    Case Style: Donald Trump v. USA
    District Court Docket No: 9:22-cv-81294-AMC

    Electronic Filing
    All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
    unless exempted for good cause. Although not required, non-incarcerated pro se parties are
    permitted to use the ECF system by registering for an account at www.pacer.gov. Information
    and training materials related to electronic filing are available on the Court's website. Enclosed
    is a copy of the court's decision filed today in this appeal. Judgment has this day been entered
    pursuant to FRAP 36. The court's mandate will issue at a later date in accordance with FRAP
    41(b).

    The time for filing a petition for rehearing is governed by 11th Cir. R. 40-3, and the time for
    filing a petition for rehearing en banc is governed by 11th Cir. R. 35-2. Except as otherwise
    provided by FRAP 25(a) for inmate filings, a petition for rehearing or for rehearing en banc is
    timely only if received in the clerk's office within the time specified in the rules. Costs are
    governed by FRAP 39 and 11th Cir.R. 39-1. The timing, format, and content of a motion for
    attorney's fees and an objection thereto is governed by 11th Cir. R. 39-2 and 39-3.

    Please note that a petition for rehearing en banc must include in the Certificate of Interested
    Persons a complete list of all persons and entities listed on all certificates previously filed by
    any party in the appeal. See 11th Cir. R. 26.1-1. In addition, a copy of the opinion sought to be
    reheard must be included in any petition for rehearing or petition for rehearing en banc. See
    11th Cir. R. 35-5(k) and 40-1 .

    Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming
    compensation for time spent on the appeal no later than 60 days after either issuance of mandate
    or filing with the U.S. Supreme Court of a petition for writ of certiorari (whichever is later) via
    the eVoucher system. Please contact the CJA Team at (404) 335-6167 or
    cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the eVoucher
    system.
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    Pursuant to Fed.R.App.P. 39, costs taxed against appellee.

    Please use the most recent version of the Bill of Costs form available on the court's website at
    www.ca11.uscourts.gov.

    For questions concerning the issuance of the decision of this court, please call the number
    referenced in the signature block below. For all other questions, please call Bradly Wallace
    Holland, DD at 404-335-6181.

    Sincerely,

    DAVID J. SMITH, Clerk of Court

    Reply to: Jeff R. Patch
    Phone #: 404-335-6151

                                                           OPIN-1A Issuance of Opinion With Costs
